          Case 1:21-cr-00222-TFH Document 97-1 Filed 01/23/23 Page 1 of 2




                          Victim Impact Statement


Your Name:             Gladys Sicknick


Case#:                 22-CR-00222


Defendant’s Name:      United States v Khater


Sentencing Date:       January 27, 2023


To the Honorable Judge Thomas Hogan:
             Case 1:21-cr-00222-TFH Document 97-1 Filed 01/23/23 Page 2 of 2




         Seven hundred fifty one days: that's how much time has passed since January 6th, 2021......and
each -- and every -- day, I, and my family are reminded of what you did to my son Brian. There's hardly
an hour's respite; with every news report, newspaper.....on the internet.....we are pummeled by the
horrific images of that day. But, we also see the face of my son, and those of courageous men and
woman who stood their ground to protect our Democracy from a vicious mob. And I see you, Mr.
Khater; you are center stage in our recurring nightmare.
    Just when raw nerves have begun to heal, we are carried back to the scene of your crime. You,
among all the other crazies -- you are the reason Brian is dead, Mr. Khater.
    And, for what? While you were assaulting police officers whose duty is to keep the peace and secure
our Capitol, you can't possibly have thought you were doing the right thing. A Congressman -- from
Georgia I think -- described January 6th as being like any other day....just another Monday with
"tourists" admiring the Rotunda. Did you feel like a tourist, Mr. Khater? Watching my son fighting for
his life? Thank God the footage of Brian facing off with you and your fellow "Patriots" is kept secure as
evidence by the FBI. At least we've been spared that torture.
    The rioters who breached the Capitol that day, whether or not they've been charged with
crimes.......all of you are culpable in Brian's death. All of you bear responsibility for the injuries
sustained by Brian's fellow officers -- the broken bones, head trauma, and the continuing mental anguish
they suffer -- and will endure -- for the rest of their lives. Imagine the emotional pain that would cause
someone to take his own life, Mr. Khater. Four officers committed suicide. You, and your "movement"
caused their deaths.
   "Footsoldiers" you call yourselves -- you -- with your flags, used like pikes. My son was a soldier,
Mr. Khater. Soldiers don't erect gallows and call for the Vice President to be hanged. Soldiers don't
attack the seat of their own government brandishing pipes, and clubs, and bats. They don't plant pipe
bombs. They don't drag a police officer into their midst, beat him senseless, and tase him repeatedly
while he begs for his life. And they don't beat and blind policemen with chemicals, like you did to Brian.
You attacked my son like he was an animal; you are the animal, Mr. Khater.
    In defense of their actions, some in the mob have relied upon the fact that the former President
invited them to Washington. That he whipped them into a frenzy and sent them marching to do his
bidding: to stop the peaceful transfer of power. To overturn our election. That man will get his due -- his
day in court. That's my hope. But you should have known better....in this great country, we go to the
voting booth to make a difference. We don't start an armed rebellion, no matter the President encouraged
you to "fight like Hell"....to "take your country back."
    We are called as citizens to honor the Constitution--to support our police in maintaining law and
order. You can speak your mind under the First Amendment, because of law abiding Americans and
dedicated law enforcement officers. Your right of free expression didn't entitle you to attack my son that
day. What you did happens in places like Russia, China, Venezuela.....not the United States.
    I don't know what kind of upbringing you had...what might have happened in your childhood that
contributed to your deluded sense of right and wrong. If I were your mother, I'd be embarrassed to have
a son like you. I couldn't bear to look at you -- ever again. Which is how I feel right now. Let this be the
last time, Mr. Khater.
    Lawlessness, misplaced loyalty, and hate, killed my son...and I hope you are haunted by your crimes
behind bars. Whatever jail time you receive is not enough. I leave it to Judge Hogan to set your just
reward, for having been part of the darkest days of my life, and among the worst in American history.
    Thank you, Your Honor, for the opportunity to comment here today.
